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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION



  STATE OF OHIO, ex rel. DAVE YOST                            Civil Action No. 2:23-CV-1450
  ATTORNEY GENERAL OF OHIO
                                                              Judge Michael H. Watson
  Plaintiff,                                                  Magistrate Judge Chelsey M. Vascura

  v.

  ASCENT HEALTH SERVICES LLC;
  EXPRESS SCRIPTS, INC.; CIGNA
  GROUP; EVERNORTH HEALTH, INC.;
  PRIME THERAPEUTICS LLC; HUMANA
  PHARMACY SOLUTIONS, INC.;
  HUMANA INC.

  Defendants.
       PLAINTIFF STATE OF OHIO’S MEMORANDUM IN OPPOSITION TO
   DEFENDANTS HUMANA INC. AND HUMANA PHARMACY SOLUTIONS, INC.’S
        MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION

        Defendants Humana Inc. and Humana Pharmacy Solutions, Inc.’s Motion to Dismiss for

 Lack of Personal Jurisdiction (“Humana’s Motion”) should be denied. It is undisputed that

 Defendants Humana Inc. and Humana Pharmacy Solutions, Inc. (collectively, “Humana”)

 control the pharmaceutical benefits for tens of thousands of Ohioans with commercial plans, and

 that Humana administers those pharmaceutical benefits in collaboration with Ascent Health

 Services LLC (“Ascent”), including by allowing Ascent to control rebate negotiations for those

 covered commercial lives. These actions are the very heart of Plaintiff’s Complaint, and there is

 no question that the allegations in the Complaint, combined with Humana’s admissions,

 demonstrate that this Court has personal jurisdiction over Humana.

        Therefore, the Court should deny Humana’s Motion.
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      The allegations in the Complaint and Humana’s admissions demonstrate that
 Humana transacts business in Ohio.

        A. Humana’s admissions demonstrate that Humana operates in Ohio’s commercial
           pharmacy benefits marketplace and that it collaborates with Ascent in those
           activities.

        In Humana’s Motion, Humana admits the following:
           1. Humana Inc. is a corporate parent of licensed insurance subsidiaries. Humana’s
              Motion, ECF. No. 41, PageID 1500.

           2. Humana Pharmacy Solutions, Inc. (“HPS”) “builds and maintains networks of
              pharmacies, designs the prescription formulary for Humana insureds, and
              negotiates drug prices and discounts with pharmacies and manufacturers on behalf
              of Humana Inc.’s health plan subsidiaries.” Id.

           3. HPS contracts with Ascent “to negotiate certain rebates from drug manufacturers
              for prescriptions filled by HPS for Humana Inc.’s small commercial … lines of
              business.” Id. This admission demonstrates both that Humana Inc. operates
              commercial lines of business and that HPS provides pharmacy benefit
              management services to those lines of business, including by contracting with
              Ascent related to those services.

           4. A number of Humana entities are licensed to provide health insurance in Ohio.
              These include: Humana Health Plan Inc., Humana Health Plan of Ohio Inc.,
              Humana Medical Plan of Michigan, Inc., Humana Wisconsin Health Organization
              Insurance Corporation, Humana Benefit Plan of Illinois, Inc., and Humana
              Insurance Company, Humana’s Motion, Ex. A(B), ECF No. 41-1, PageID 1677,
              1691. All of these subsidiaries are identified on Humana’s Subsidiary List.
              Humana’s Motion, Ex. A(A), ECF No. 41-1, PageID 1660-1665.

           5. Humana had more than 40,000 commercial members in Ohio. Humana’s Motion,
              Ex. A(A), ECF No. 41-1, PageID 1522. 1 Based on Humana’s description of its
              business, HPS provides pharmacy benefit management services on behalf of these
              tens of thousands of Ohioans, and it contracts with Ascent in connection with
              those same services.




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   Humana’s 10-K define “commercial” coverage to include fully-insured and administrative
 services only, or ASO, which “are offered to small group and large group employers who self-
 insure their employee health plans.” Humana’s Motion, Ex. A(A), ECF No. 41-1, PageID 1519.
 Humana estimates that it has 24,200 fully-insured commercial members in Ohio and 23,900
 under ASO contracts. Id. at PageID 1522.
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        B. Plaintiff’s allegations pertain to Humana’s actions regarding tens of thousands
           of Ohioans covered by Humana’s commercial plans.

        As explained above, Humana does not dispute that it controls pharmaceutical benefits for

 tens of thousands of Ohioans covered by commercial plans and that HPS has a direct relationship

 with Ascent, on Humana Inc.’s behalf, for Ascent to control aspects of those benefits, including

 rebate negotiation.

        Combined with that undisputed background, each of the specific allegations in the

 Complaint regarding how Humana’s relationship with Ascent harms Ohioans demonstrates,

 taking those allegations as true, the pervasiveness of the combination and its harm:

            1. Ascent allows Express Scripts to add millions of covered lives, including
               Humana’s, to its bargaining leverage. Complaint, ¶ 186, ECF No. 12, PageID
               1349.

            2. Ascent allows pharmacy benefit managers with which it contracts, including HPS,
               “to consolidate their Rebate scheme and grant the PBMs even greater bargaining
               leverage, with the benefits flowing to the PBMs’ bottom lines.” Id. ¶ 181, ECF
               No. 12, PageID 1349.

            3. Ascent allows PBMs, including HPS, “to obscure the fees contained in the black
               box by further complicating the web of relationships and adding additional layers
               to shield their behavior from customer and regulatory scrutiny.” Id. ¶ 187, ECF
               No. 12, PageID 1350.

            4. Ascent allows PBMs, including HPS, “to harmonize and increase drug prices,
               Rebates, fees, and Retail Pharmacy reimbursements.” Id. ¶ 188, ECF No. 12,
               PageID 1350.

            5. A “significant purpose” of the collaboration with Ascent is “to depress
               reimbursement rates paid to Retail Pharmacies and to increase the administrative
               fees charged to those pharmacies,” including to pharmacies participating in
               Humana’s network that serves its tens of thousands of Ohio commercial members.
               Id. ¶ 190, ECF No. 12, PageID 1350-51.

            6. Humana’s collusive conduct with the other Defendants harms Ohioans by:

                       a. Denying Ohio patients “the benefits of free and unrestricted competition in
                          the marketplace by suppressing the information and transparency that
                          would allow meaningful comparisons among competing PBMs, and by
                          forming and carrying out agreements with Manufacturers that have the

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                        purpose and effect of fixing and increasing the out-of-pocket prices these
                        individuals must pay for their prescription drugs[.]” Id. ¶ 193, ECF No.
                        12, PageID 1351-52.

                    b. Denying “Ohio Plan Sponsors the benefits of free and unrestricted
                       competition in the marketplace by suppressing the information and
                       transparency that would allow meaningful comparisons among competing
                       PBMs, and by forming and carrying out agreements with Manufacturers
                       that have the purpose and effect of fixing and increasing the quality-
                       adjusted prices paid by Plan Sponsors.” Id. ¶ 194, ECF No. 12, PageID
                       1352.

                    c. Creating higher out-of-pocket obligations to Ohioans. Id. ¶ 195, ECF No.
                       12, PageID 1352.

                    d. Colluding with other Defendants in creating a pay-to-play system for
                       pharmaceutical benefits in Ohio. Id. ¶ 196, ECF No. 12, PageID 1352-53.

        These and other allegations in the Complaint support the conclusion that Humana has

 colluded with Defendants relating to its commercial members in Ohio, causing harm not only to

 those members but also to the pharmaceutical industry in Ohio generally.

       The allegations in the Complaint and Humana’s admissions demonstrate that this
 Court has personal jurisdiction over Humana.

        A. A plaintiff need make only a prime facie showing of personal jurisdiction.

        Establishing specific personal jurisdiction over a defendant requires satisfying both

 Ohio’s long-arm statute and demonstrating that jurisdiction satisfies due process concerns.

 Power Investments, LLC v. SL EC, LLC, 927 F.3d 914, 917 (6th Cir. 2019). “Where a Rule

 12(b)(2) motion is decided solely on written submissions, the plaintiff’s burden is ‘relatively

 slight’; the court must view all of the pleadings and affidavits in a light most favorable to the

 plaintiff, and to defeat dismissal, the plaintiff need only make a prima facie showing that

 personal jurisdiction exists.” Retail Serv. Sys. v. Mattress By Appointment, LLC, 210 F. Supp. 3d

 916, 923 (S.D. Ohio 2016).




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        First, the Plaintiff must make a prima facie “show[ing] that [Defendant] falls within

 Ohio’s long-arm statute.” Spurlark v. Dimension Serv. Corp., No. 2:21-cv-3803, 2022 U.S. Dist.

 LEXIS 120468, 2022 WL 2528098, at *11 (S.D. Ohio Jul. 7, 2022). “A non-resident defendant

 need not have a physical presence in Ohio to be transacting business there.” Id. at *12 (internal

 quotation marks omitted).

        In addition, jurisdiction must comport with due process concerns. Olin-Marquez v. Arrow

 Senior Living Mgmt., LLC, 586 F. Supp. 3d 759, 768 (S.D. Ohio 2022). Due process allows

 specific personal jurisdiction when the defendant has had such “minimum contacts with the

 forum State such that he should reasonably anticipate being haled into court there.” Id. at 772.

        Here, Humana’s operations easily pass these standards. First, Humana transacted

 business in Ohio (in the form of pharmacy benefit management services provided on behalf of

 Humana’s commercial covered lives in Ohio). Second, Humana has sufficient minimum contacts

 with Ohio by actively registering entities to provide insurance coverage in Ohio and, through

 HPS, providing pharmacy benefit management services to those entities. Therefore, this Court

 properly has personal jurisdiction over Humana.

        B. Humana transacted business in Ohio.

        In Ohio, personal jurisdiction is proper over a person regarding a cause of action that

 arises out of that person transacting business in the state. Ohio Rev. Code § 2307.382(A)(1).

 Humana transacted business (and continues to transact business) in Ohio in connection with the

 allegations in the Complaint by providing commercial coverage to Ohio residents and providing

 pharmacy benefit management services to those same commercial patients. Courts have

 identified three factors relevant to determining whether a non-resident defendant has transacted

 business in Ohio: (1) whether the non-resident defendant initiated the dealing; (2) whether the

 parties conducted their negotiations or discussions in the forum state; and (3) whether the non-
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 resident defendant manifested a substantial connection to Ohio. Spurlark, 2022 U.S. Dist. LEXIS

 120468, at *12.

         There is no question that Humana initiated the dealing at issue – HPS’s provision of

 pharmacy benefit management services to Humana’s commercial members. Humana registered a

 number of insurance providers in Ohio, and Humana controlled whether those insurance

 providers would be served by HPS. Further, HPS’s operations necessarily involved contracting

 directly with Ohio pharmacies in managing its pharmacy network and negotiating pharmacy

 reimbursement rates.

         Finally, throughout the period covered by the Complaint and continuing today, Humana

 has a substantial connection to Ohio by serving more than 40,000 Ohio commercial members

 and administering their pharmacy benefits, in connection with Humana subsidiaries registered to

 provide insurance in the State of Ohio. In Ohio Valley Bank Co. v. Metabank, No. 2:19-cv-191,

 2019 U.S. Dist. LEXIS 160437, 2019 WL 4574528, at *13-14 (S.D. Ohio Sep. 20, 2019), this

 Court found that a defendant transacted business in Ohio for claims related to its nationwide tax

 processing services where the defendant was required to make regular payments to a bank in

 Ohio “and facilitated numerous transactions” in Ohio. The same is true here, where Humana Inc.

 and HPS make payments for pharmaceutical drugs to Ohio pharmacies on behalf of Ohio

 patients and facilitate numerous pharmaceutical transactions.

         Even a cursory look at Humana’s operations reveals that Humana “transacts business” in

 Ohio for the purposes of Ohio’s long-arm statute. Therefore, Humana is subject to personal

 jurisdiction here. 2




 2
  Humana’s own contacts with Ohio support personal jurisdiction. Therefore, Ascent’s
 citizenship, or the citizenship of any other Defendant, is not relevant or necessary to the analysis.
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        C. Alternatively, Humana is subject to this Court’s jurisdiction based on other
           grounds under Ohio’s long-arm statute.

        Humana is also subject to personal jurisdiction under Ohio’s long-arm statute for two

 additional and independent reasons.

        First, Humana “[c]ontract[s] to supply services or goods in [Ohio].” Ohio Rev. Code

 § 2307.382(A)(2). As explained above, HPS provides pharmacy benefit management services to

 Humana’s covered commercial lives in Ohio, and therefore, HPS necessarily contracts with

 Humana’s Ohio-registered insurance providers, with plan sponsors, and with Ohio pharmacies

 pursuant to those services.

        Second, the Complaint (ECF No. 12, PageID 1316) alleges that Humana caused “tortious

 injury in [Ohio] by an act or omission outside [Ohio]” and it is clear, from Humana’s own

 admissions, that Humana “regularly does or solicits business, or engages in any other persistent

 course of conduct, or derives substantial revenue from goods used or consumed or services

 rendered in [Ohio].” Ohio Rev. Code § 2307.382(A)(4). Humana provides medical insurance

 coverage and related services for tens of thousands of Ohioans covered by commercial plans, and

 HPS provides pharmacy benefit services for those same Ohioans.

        Therefore, personal jurisdiction is also proper under subsections (A)(2) and (A)(4) of the

 Ohio long-arm statute.

        D. Due process allows personal jurisdiction over Humana in Ohio.

        Moreover, Humana has minimum contacts with Ohio. To assess whether a defendant has

 minimum contacts with a forum, a court must examine three relevant criteria: (1) that the

 defendant “purposefully availed” itself to the “privilege of acting in the forum state or causing a

 consequence” in that state; (2) that the plaintiff’s cause of action “arise[s] from” the defendant’s

 activities within the state; and (3) that the defendant’s activity manifests a “substantial enough


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 connection” to the state that renders “the exercise of jurisdiction over the defendant reasonable.”

 Olin-Marquez, 586 F. Supp. 3d at 772. Each of these criteria supports jurisdiction here.

         First, “‘[p]urposeful availment’ is ‘the constitutional touchstone of personal jurisdiction,’

 and it exists ‘where the defendant’s contacts with the forum state proximately result from actions

 by the defendant himself that create a substantial connection with the forum State … and where

 the defendant’s conduct and connection with the forum are such that he should reasonably

 anticipate being haled into court there.’” AlixPartners, LLP v. Brewington, 836 F.3d 543, 550

 (6th Cir. 2016) (quoting Neogen Corp. v. Neo Gen Screening, Inc., 282 F.3d 883, 889 (6th Cir.

 2002)). “[A] nonresident who deliberately engages in ‘significant activities within a State’ or

 creates ‘continuing obligations between himself and residents of the forum’ satisfies this

 requirement.” AlixPartners, 836 F.3d at 550 (quoting Burger King v. Rudzewicz, 471 U.S. 462,

 475-76 (1985)). Few obligations can be more “continuing” or “significant” than the ongoing

 management of Ohioans’ pharmaceutical benefit plans.

         Second, the causes of action in the Complaint arise from Humana’s activities in Ohio –

 namely, Humana’s collaboration with other Defendants (including Express Scripts and Ascent)

 to engage in anticompetitive practices in the commercial market, negatively affecting tens of

 thousands of individual Ohioans covered by Humana, as well as independent pharmacies in

 Ohio.

         Third, the exercise of jurisdiction in Ohio is reasonable. As an initial matter, satisfying

 the first two factors supporting minimum contacts gives rise to an inference that jurisdiction is

 reasonable. Int’l Confection Co., LLC v. Z Capital Grp., LLC, No. 2:18-cv-1108, 2019 U.S. Dist.

 LEXIS 159257, 2019 WL 4452754, at *13 (S.D. Ohio Sep. 17, 2019). In addition, courts

 typically consider: “‘(1) the burden on the defendant; (2) the interest of the forum state; (3) the



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 plaintiffs[’] interest in obtaining relief; and (4) other states’ interest in securing the most efficient

 resolution of the controversy.’” Id. (quoting Intera Corp. v. Henderson, 428 F.3d 605, 618 (6th

 Cir. 2005)).

         Humana’s Motion makes no argument regarding the latter factors, but they all support

 jurisdiction. Humana is present in Ohio, and its more than 40,000 commercial members is only a

 portion of that presence. Ohio has a strong interest, manifested through the Valentine Act, not

 only in preserving the integrity of its competitive markets but also in ensuring that vulnerable

 Ohioans are not exploited in connection with their healthcare. Finally, other states lack the same

 interest in enforcing Ohio law and protecting Ohio citizens.

         Therefore, due process allows personal jurisdiction over Humana in Ohio, and Humana’s

 Motion should be denied.

         Conclusion.

         For the reasons above, Humana’s Motion should be denied, and this Court should

 conclude that Humana is subject to personal jurisdiction in the courts of Ohio.



 Dated: June 30, 2023



                                         Respectfully submitted,

                                         DAVE YOST
                                         Ohio Attorney General (0056290)
                                         SHAWN BUSKEN (0083585)
                                         Deputy First Assistant Attorney General

                                          /s/ Jason W. Palmer
                                         JENNIFER L. PRATT (0038916)
                                         Director of Major Litigation
                                         30 East Broad Street, 17th Floor
                                         Columbus, Ohio 43215
                                         Telephone: (614) 752-8237
                                                     9
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                                Fax: (614) 466-5087
                                Jennifer.Pratt@OhioAGO.gov

                                Beth A. Finnerty (0055383)
                                Section Chief, Antitrust Section
                                Edward J. Olszewski (0082655)
                                Assistant Section Chief, Antitrust Section
                                Jason W. Palmer (0088336)
                                Senior Assistant Attorney General, Antitrust Section
                                Sarah Mader (pro hac vice) (0102270)
                                Assistant Attorney General, Antitrust Section
                                30 East Broad Street, 26th Floor
                                Columbus, Ohio
                                Telephone; (614) 466-4328
                                Fax: (614) 995-0266
                                Beth.Finnerty@OhioAGO.gov
                                Edward.Olszewski@OhioAGO.gov
                                Jason.Palmer@OhioAGO.gov
                                Sarah.Mader@OhioAGO.gov

                                Counsel for the State of Ohio, ex rel., Attorney General
                                Dave Yost




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on June 30, 2023, a copy of the foregoing was filed electronically.

  Notice of this filing will be sent to counsel of record by operation of the Court’s electronic filing

  system. Notice of this filing will be sent to all other parties not represented by counsel via regular

  U.S. Mail.

                                                  _/s/ Jason W. Palmer______________
                                                  Jason W. Palmer
                                                  Counsel for Plaintiff the State of Ohio




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